Case 1:17-cv-01424-RDM Document 23 Filed 04/24/18 Page 1 of 2 PageID #: 113




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE


  Dana Carney,                                      Civil Action No. 1:17-CV-1424

                          Plaintiff,


           – against–



  Discover Bank, Trans Union, LLC, and
  Equifax Information Services, LLC,

                          Defendant(s).



                                NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that all matters herein have been compromised and settled as

between Plaintiff and Defendant, Discover Bank. Plaintiff intends on filing a Stipulation of

Dismissal with Prejudice and Proposed Order once the settlement is consummated.

                                       Respectfully submitted,

                                       s/ Antranig N. Garibian
                                       Antranig N. Garibian
                                       Garibian Law Offices, P.C.
                                       1010 Bancroft Parkway, Suite 22
                                       Wilmington, DE 19805
                                       Telephone: 302-722-6885
                                       Email: ag@garibianlaw.com
                                       Counsel for Plaintiff
 Case 1:17-cv-01424-RDM Document 23 Filed 04/24/18 Page 2 of 2 PageID #: 114




                                 CERTIFICATE OF SERVICE

       I, Antranig Garibian, Esq., hereby certify that a copy of the Notice of Settlement between

Plaintiff and Defendant, Discover Bank has been filed electronically. Notice of this filing will be

sent to all parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s electronic filing.



                                       Respectfully submitted,

                                       s/ Antranig N. Garibian____
                                       Antranig N. Garibian
                                       Garibian Law Offices, P.C.
                                       1010 Bancroft Parkway, Suite 22
                                       Wilmington, DE 19805
                                       Telephone: 302-722-6885
                                       Email: ag@garibianlaw.com
                                       Counsel for Plaintiff
